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 2   BRITTANY N. DEJONG (258766)
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 8   Interim Class Counsel for the Consumer
     Plaintiffs in In re Apple iPhone Antitrust Litig.,
 9   Case No. 4:11-cv-06714-YGR
10   [Additional Counsel listed on the Signature Page]
11                                   UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                           OAKLAND DIVISION
14
     IN RE APPLE IPHONE ANTITRUST                         Case No. 4:11-cv-06714-YGR
15   LITIGATION
16                                                        DECLARATION OF BRITTANY N.
                                                          DEJONG IN SUPPORT OF CONSUMER
17                                                        PLAINTIFFS’ ADMINISTRATIVE FOR
                                                          ENTRY OF SUPPLEMENTAL
18                                                        PROTECTIVE ORDERS
19
                                                          Hon. Yvonne Gonzalez Rogers
20
     DONALD R. CAMERON, et al.,                           No. 4:19-cv-03074-YGR
21
         Plaintiffs,
22
             v.
23
     APPLE INC.
24        Defendant.
25    EPIC GAMES, INC.,                                   No. 4:20-cv-05640-YGR-TSH
26         Plaintiff, Counter-defendant,
27         v.
      APPLE INC.,
28
             Defendant, Counterclaimant.

                                                   BND DECL. ISO CONSUMER PLTFS’ ADMIN. MOT FOR
                                                     ENTRY OF SUPPLEMENTAL PROTECTIVE ORDRES
                                                          Case Nos.: 20-cv-05640-YGR; 11-cv-06714-YGR; 19-cv-3074-YGR
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 1   I, Brittany N. DeJong, declare as follows:
 2          1.      I am an attorney duly licensed to practice before all the courts of the State of California.
 3   I am an associate of the law firm Wolf Haldenstein Adler Freeman & Herz LLP (“Wolf Haldenstein”),
 4   Interim Class Counsel for Plaintiffs in In re Apple iPhone Antitrust Litigation, No. 4:11-cv-06714-
 5   YGR (hereafter, “Consumer Plaintiffs”). Unless otherwise indicated, I have personal knowledge of
 6   the matters stated herein and, if called upon, I could and would competently testify thereto.
 7          2.      I make this declaration pursuant to Civil Local Rule 7-11 and in support of the
 8   administrative motion, filed concurrently herewith, of Consumer Plaintiffs seeking entry of
 9   supplemental protective orders governing discovery from The Walt Disney Company, Electronic Arts
10   Inc., Niantic, Inc. and Zynga Inc.
11          3.      In March 2021, Consumer Plaintiffs served several app developers with document
12   subpoenas that primarily requested documents and data regarding costs that app developers incur.
13   Consumer Plaintiffs’ experts anticipate using this information in connection with their damages model
14   that will be filed in support of Consumer Plaintiffs’ motion for class certification, currently due on
15   June 1, 2021. To date, four of those third party app developers have prepared and requested entry of
16   supplemental protective orders before they begin producing documents.
17          4.      On April 21, 2021, I emailed counsel for the parties in the related actions a Stipulation
18   and [Proposed] Supplemental Protective Order Governing Discovery from The Walt Disney Company.
19   On April 26, 2021, I followed up with counsel by email and inquired whether they approved the filing.
20   On April 30, 2021, counsel for Developer Plaintiffs approved the filing.
21          5.      On April 26, 2021, I emailed counsel for the parties in the related actions a Stipulation
22   and [Proposed] Supplemental Protective Order Governing Discovery from Electronic Arts Inc. On
23   April 30, 2021, counsel for Developer Plaintiffs approved the filing.
24          6.      On April 26, 2021, I emailed counsel for Epic and Developer Plaintiffs a Stipulation
25   and [Proposed] Supplemental Protective Order Governing Discovery from Zynga, Inc. That same day,
26   counsel for Epic responded that it could not agree to the proposed terms and explained its position. On
27   April 27, 2021, I sent counsel for Epic and Developer Plaintiffs proposed revisions to the supplemental
28
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                                                   BND DECL. ISO CONSUMER PLTFS’ ADMIN. MOT FOR
                                                     ENTRY OF SUPPLEMENTAL PROTECTIVE ORDERS
                                                        Case Nos.: 20-cv-05640-YGR; 11-cv-06714-YGR; 19-cv-3074-YGR
       Case 4:20-cv-05640-YGR Document 562-1 Filed 04/30/21 Page 3 of 3




 1   protective order in an attempt to address Epic’s concerns. Counsel for Zynga approved the revision.
 2   On April 28, 2021, I followed up with counsel and advised them that I planned on sending the proposed
 3   protective order to Apple. Later that day I emailed counsel for the parties in the related actions a
 4   Stipulation and [Proposed] Supplemental Protective Order Governing Discovery from Zynga, Inc. On
 5   April 29, 2021, Counsel for the Developer Plaintiffs proposed one minor change to the supplemental
 6   protective order. Counsel for Zynga approved the revision.
 7           7.      On April 27, 2021, counsel for Niantic, Inc. emailed the parties in the related actions a
 8   Stipulation and [Proposed] Supplemental Protective Order Governing Discovery from Niantic, Inc. On
 9   April 30, 2021, counsel for Developer Plaintiffs approved the filing.
10           8.      Epic has not provided any other comments or stipulated to the submission to the Court
11   of the proposed supplemental protective orders, and Apple has not responded at all.
12           I declare under penalty of perjury under the laws of the United States of America that the
13   following is true and correct. Executed April 30, 2021 at San Diego, California.
14
15                                                         /s/ Brittany N. DeJong
16                                                         BRITTANY N. DEJONG

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     APPLE2/:27294
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                                                   BND DECL. ISO CONSUMER PLTFS’ ADMIN. MOT FOR
                                                     ENTRY OF SUPPLEMENTAL PROTECTIVE ORDERS
                                                        Case Nos.: 20-cv-05640-YGR; 11-cv-06714-YGR; 19-cv-3074-YGR
